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                                                                                               ELECTRONICALLY FILED - 2021 Dec 16 9:01 AM - ORANGEBURG - COMMON PLEAS - CASE#2021CP3801458
STATE OF SOUTH CAROLINA             )       IN THE COURT OF COMMON PLEAS
                                    )       FIRST JUDICIAL CIRCUIT
COUNTY OF ORANGEBURG                )       CASE NO.2021-CP-38-

Lavena Scott                        )
                                    )
               Plaintiff,           )
                                    )
-vs-                                )       SUMMONS
                                    )
Wal-Mart Neighborhood Market        )
                                    )
               Defendant.           )


TO: THE DEFENDANT ABOVE NAMED

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,

a copy of which is herewith served upon you, and to serve a copy of your answer to the

Complaint upon the subscriber at 340 Summers Avenue (Post Office Box 811) Orangeburg,

South Carolina 29116, within thirty (30) days after the service. If you fail to answer the

Complaint within that time, the plaintiff shall apply to the Court for a judgment by default

against you for the relief demanded in the Complaint.




                                            s/LaWrence Keitt
                                            Lawrence Keitt, Esquire
                                            S.C. Bar No. 3341
                                            Attorney for the Plaintiff
                                            Law Office of Lawrence Keitt
                                            340 Summers Avenue
                                            P. O. Box 811
                                            Orangeburg, South Carolina 29116
                                           (803)531-2379
                                            11cparalegal@sc.mcom

December 16, 2021
Orangeburg, SC

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STATE OF SOUTH CAROLINA              )        IN THE COURT OF COMMON PLEAS
                                     )        FIRST JUDICIAL CIRCUIT
COUNTY OF ORANGEBURG                 )        CASE NO. 2021-CP-38-

Lavena Scott,                        )
                                     )
                Plaintiff,           )
                                     )
-vs-                                 )        COMPLAINT
                                     )
Wal-Mart Neighborhood Market         )
                                     )
                Defendant.           )
                                                                              1

        The Plaintiff above named complaining of the Defendant above named would allege and

show as follows:

        1. The Plaintiff is a citizen and resident ofthe County of Orangeburg, State of South

Carolina and was such at all times complained of herein.

       2. The Plaintiff is informed and believes the Defendant is a corporation and is organized

and exists pursuant to the laws of one ofthe States within the United States with its principal

place of business in a State other than South Carolina. However, the Defendant conducts

business in many counties in South Carolina including Orangeburg County.

       3. All matters complained of herein occurred at the Wal-Mart Neighborhood Market

located within the City of Orangeburg, County of Orangeburg, State of South Carolina.

       4. Thus, the Plaintiff is informed and believes that this Court has in personaum

jurisdiction ofthe parties and subject matter herein and venue is proper.

       5. On or about December 17, 2020 the Plaintiff was a customer in the Defendant's

business, when she completed her shopping she went to one ofthe self check registers and

scanned all of the items she had purchased.




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       6. The Plaintiff then paid for her purchase and as she was preparing to leave the store she

heard employees ofthe store calling a "Code Red."

       7. Following this call store employees approached the Plaintiff and stopped the Plaintiff

from leaving the store telling her that there was something wrong with the check out machine she

had used and that they had to rescan her purchase.

       8. When the Plaintiff complained to the store employees that they could check her

receipt, she was told by a store employee in a loud manner that they had observed her not

scanning all ofthe items in her shopping cart.

       9. The employees then took her shopping cart and rescanned all ofthe items she had

purchased. All of this occurring in full view of the other customers in the store, some of whom

started recording the incident.

        10. Following the rescan ofthe Plaintiff's purchases by the store employees and upon

finding nothing which the Plaintiff had failed to scan or pay for, the Plaintiff demanded a public

apology from the store employees, they refused to offer an apology but instead told her to watch

her tone in speaking with them in a threatening manner. The Plaintiff was finally allowed by the

store employees to leave the store with the items she had purchased.

                               FOR A FIRST CAUSE OF ACTION

                                  (Negligence/Gross Negligence)

        11. The Plaintiff reiterates the matters alleged in paragraphs 1 through 10 as fully as if

repeated.

        12. The Defendant owed certain duties of due care to the Plaintiff, including but not

limited to a duty of due care to the Plaintiff, a business invitee, to ensure that she would be able

to patronize the Wal-Mart Neighborhood Store and not be falsely imprisoned, slandered,



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   defamed, assaulted, frightened or otherwise harmed or damaged by the Defendant's employees,

   servants and agents. These duties were heightened due to the fact that the Plaintiff was a

   business invitee.

           13. Defendant agents and/or employees breached this duty to Plaintiff through negligent,

   grossly negligent and wanton conduct in various particulars including, but not limited to some or

   all of the following.

                  A. In failing to properly and adequately train personnel;

                  B. In failing to exercise the degree of care that is required when verifying

   evidence of a potential shoplifter.

                  C. In acting with a reckless disregard for the rights ofthe Plaintiff;

                  D. In failing to properly supervise personnel;

                  E. In such acts of negligence/gross negligence as may be revealed through

   discovery.

           14. As a direct and proximate result ofthe acts ofthe Defendants agents and/or

   employees alleged herein Plaintiff has endured substantial damages, including but not limited to

   severe and excruciating mental and emotional suffering, false imprisonment, assault, violation of

   civil rights and defamation. The Plaintiff is now afraid to go casual shopping, and becomes

   frightful as store employees approach her or speak to her; further the Plaintiff continues to suffer

   from depression, as well as other emotional damages, all as a direct and proximate result of her

' experience as set forth above.

                                FOR A SECOND CAUSE OF ACTION

                                         (False Imprisonment)




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        15. The Plaintiff would reiterate the allegations contained in paragraphs 1 through 14 as

fully as if repeated herein.

        16. The acts of the Defendant by and through its agents and/or employees, as set further

above, instigated and set in motion the unlawful detention and/or restraint ofthe Plaintiff.

        17. As a direct and proximate result ofthe actions of Wal-Mart, by and through its

agents and/or employees, as set forth above, the Plaintiff has endured substantial damages,

including but not limited to severe and excruciating mental and emotional suffering, discomfort,

false imprisonment, assault, violation of her civil rights, defamation, slander, fright, anguish,

shock, nervousness, anxiety, embarrassment and humiliation. The Plaintiff is now afraid to go

casual shopping and becomes fearful at the sight ofstore personnel approaching her and

continues to suffer depression as well as other emotional problems, all as a direct and proximate

result of her experience as set forth above.

        18. The injuries and damages suffered by the Plaintiff, as set forth above, were directly

and proximately caused by the willful, wanton, and malicious acts of Wal-Mart's agents and/or

employees. As a result, the Plaintiff is entitled to actual, special and punitive damages from the

Defendant in an amount to be determined by a jury.

        Wherefore, the Plaintiff prays for an award from the Court from Wal-Mart as to each

cause of Action in an amount sufficient to compensate the Plaintiff for her injuries, losses,

damages, past, present and future actual damages and special damages as well as punitive

damages in an amount sufficient to impress upon the Defendant the seriousness of each of its

conduct and to deter similar conduct in the future, together with the cost of this action and such

other and further relief as the Court deems just and proper.

        *** SIGNATURE PAGE TO FOLLOW ***



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                                s/Lawrence Keitt
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